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                        UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

SEARS AUTHORIZED HOMETOWN                   )
STORES, LLC,                                )
                                            )
                       Plaintiff,           )
                                            )      Case No. 1:19-cv-3403
v.                                          )
                                            )      Judge Sharon Johnson Coleman
NATIONWIDE MARKETING GROUP,                 )
LLC,                                        )
                                            )
                       Defendant.           )


                            DEFENDANT’S DISCLOSURE STATEMENT

       Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure and Local Rule 3.2,

defendant Nationwide Marketing Group, LLC (“Nationwide”) hereby makes the following

disclosure: Nationwide’s parent corporation is NAS, LLC. No publicly held corporation owns

10% or more of Nationwide’s stock and Nationwide has no publicly held parent or affiliates.


Dated: June 19, 2019                            Respectfully submitted,

                                                 s/ Charles B. Leuin
                                                 Charles B. Leuin
                                                 Ashleigh Morpeau
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                                                 Attorneys for Defendant
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                               CERTIFICATE OF SERVICE

         I, Charles B. Leuin, certify that on June 19, 2019, a true and correct copy of the
Defendant’s Disclosure Statement was served electronically through the Northern District of
Illinois CM/ECF electronic filing on all counsel of record:

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                                    Attorneys for Plaintiffs



                                                                         s/Charles B. Leuin
